           Case 1:20-cr-00259-AJN Document 5 Filed 10/19/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                     10/19/20


  United States,

                   –v–
                                                                                  20-cr-259 (AJN)
  Andres Benejan,
                                                                                      ORDER
                         Defendant.




ALISON J. NATHAN, District Judge:

       The Court vacates the warrant signed on September 10, 2020. The Court schedules a

video conference in this matter on November 10, 2020 at 11:00 A.M. The Court will provide

instructions on how to access the video conference at a later date. The parties are instructed to

provide a status update to the Court on or before November 6, 2020, indicating what they

anticipate will occur at the conference.



       SO ORDERED.

 Dated: October 19, 2020
        New York, New York                        ____________________________________
                                                            ALISON J. NATHAN
                                                          United States District Judge
